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v . . O.'" }!\I l €EPJI ¥JIS'
Plaintiffs,
vs. No. 03-2983-Ma

DOLLAR RENT-A-CAR, E‘I‘ AL. ,

Defendants.

 

ORDER GRANTING MOTION TO AMENDING SCHEDULE

 

Pursuant to the March 3, 2005, joint motion filed by the
parties to continue the trial and set new deadlines in this
matter, the court held a status conference on March 18, 2005.
Participating by telephone on behalf of the plaintiffs was
Michael Kurtis. Participating on behalf of the defendants Was
Edward Curry. For good cause shown, the motion is granted and

the court amends the scheduling order as follows:

l. The deadline for completing fact discovery is May 17,
2005.

2. The deadline for completing expert discovery is June l,
2005.

3. The deadline for filing potentially dispositive motions

is July l, 2005.
4. The deadline for completing mediation is July l5, 2005.

5. The parties Will submit a joint proposed pretrial order

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by September 30, 2005.

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6. A pretrial conference will be held on Friday, October
7, 2005, at l:30 p.m.
7. The jury trial is reset to Monday, October l7, 2005, at

9:30 a.m. and is expected to take 3 days.

Absent good cause, the amended schedule set by this order
will not be modified or extended.

so oRDsRED this /°H`day of June, 2005.

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SAMUEL H. MAYS,. JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02983 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

